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                                                       July 9, 2021



VIA ECF
Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

     Re:     United States v. Steven Donziger, 19 Cr. 561 (LAP); [11 Civ. 691 (LAK)]

Dear Judge Preska:

               I write in response to defendant Steven Donziger’s June 22, 2021 motion to
dismiss, based on the Supreme Court’s June 21, 2021 decision in United States v. Arthrex, Inc.,
No. 19-1434, 2021 WL 2519433 (U.S. June 21, 2021). Dkt. 330. The motion should be denied.

I.      Relevant Background

        A.      The District Court’s Initiation of Criminal Contempt Charges

                On July 31, 2019, the Honorable Lewis A. Kaplan issued an order directing
Defendant Steven Donziger to show cause why he should not be held in criminal contempt of
court, in violation of 18 U.S.C. § 401(3), citing six separate counts. See Dkt. 1. Section 401(3)
states in relevant part: “A court of the United States shall have power to punish by fine or
imprisonment, or both, at its discretion, such contempt of its authority, and none other, as—. . . .
(3) Disobedience or resistance to its lawful writ, process, order, rule, decree, or command.” 18
U.S.C. § 401(3).

                The criminal contempt charges were initiated on notice by an Order to Show Cause
only after Donziger had, for more than a year, disobeyed court orders that were not stayed or
modified, and for which Donziger strategically sought no stay or mandamus relief from the Second
Circuit. See, e.g., Dkt. 62 at 17-18; see also Dkt. 327 (Proposed Findings of Fact) ¶ 153 (“Donziger
strategically and deliberately chose not to seek appellate relief that was available to him, and instead
chose to disobey court orders.”). Having exhausted all other options, Judge Kaplan referred the
prosecution of Donziger for criminal contempt of court to the United States Attorneys’ Office for the
Southern District of New York. 2d Cir. No. 20-464, Dkt. 28 (J. Kaplan Response to Petition for a
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Writ of Mandamus) at 17-18 (“Having exhausted all other options, the district court tendered the
prosecution of Donziger for criminal contempt of court to the U.S. Attorney.”).

                After the U.S. Attorney’s Office for the S.D.N.Y. “respectfully decline[d] on the
ground that the matter would require resources that we do not readily have available,” Civ. Dkt.
2277, Judge Kaplan followed Fed. R. Crim. P. 42(a), and appointed the undersigned counsel to
prosecute the criminal contempt charges on behalf of the United States:

               The district court followed Rule 42(a) to the letter. It tendered the
               prosecution to the U.S. Attorney. It gave the notice required by
               Rule 42(a)(1) by issuing an order to show cause. When the
               government ‘respectfully decline[d] [prosecution] on the ground
               that the matter would require resources that we do not readily have
               available,’ the court appointed outside attorneys to prosecute the
               case, as Rule 42(a)(2) required. The suggestions that the district
               court usurped the functions of the prosecutor or the grand jury or
               erred in appointing outside counsel to prosecute once the U.S.
               Attorney declined are frivolous.

2d Cir. No. 20-464, Dkt. 28 at 44 (J. Kaplan Response to Petition for a Writ of Mandamus)
(emphasis in original); Civ. Dkt. 2277 (Order of Appointment).

       B.      The Defense Motion

                In its motion, the defense contends, again, that the appointment of the special
prosecutors by Judge Kaplan pursuant to Federal Rule of Criminal Procedure 42(a) was
unconstitutional. Dkt. 330 at 1-2; see also Dkt. 259 at 10 (contending that the use of Rule 42 in
this case was unconstitutional). The defense argues that the special prosecutors’ appointment by
the district court under Rule 42(a), made the special prosecutors “free-floating ‘inferior
officer[s]’ exercising federal executive power without any of the constraints of supervision by
the President or a ‘superior officer’ nominated by the President and confirmed by the Senate.”
See Dkt. 330 at 2. The defense argues that “inferior officers” must be “directed and supervised
at some level by others who were appointed by Presidential nomination with the advise and
consent of the Senate.” Id. The defense contends that appointments under Fed. R. Crim. P.
42(a)(2) are limited “to at least the same extent as the statutory appointments at issue in
Arthrex,” and argues that the appointment of the special prosecutors and the actions of the
special prosecutors pursuant to that appointment “cannot stand.” Id. The defense also renews its
request for discovery. Id. at 3. 1

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  The defense motion (Dkt. 330 at 1) also mischaracterizes “[t]he basic procedural facts of this
case” by (1) rehashing arguments as to the disinterestedness of the special prosecutors, although
those arguments have already been fully briefed and rejected by the district court, see, e.g., Dkt.
68 at 12-20; Dkt. 297 at 13-21; and (2) again raising the pretrial conditions of Donziger’s release,
notwithstanding that the Second Circuit Court of Appeals twice affirmed this Court’s denial of
motions by Donziger prior to trial in respect of those release conditions. See 2d Cir. No. 19-
4155, Dkt. 53 (Feb. 18, 2020); 2d Cir. No. 20-1710, Dkt. 98 (Apr. 23, 2021). Contrary to the
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               It should be noted that the defense previously raised a variation of these
arguments in connection with its April 2021 motion to dismiss for vindictive or selective
prosecution (see Dkt. 259). Notwithstanding that the prosecution in this matter was initiated by
the U.S. District Court, and not the Executive Branch, the defense does not engage with the
Court’s May 6, 2021 ruling discussing the separate process for the judiciary’s initiation of
criminal contempt charges:

               While the Court recognizes that the prosecutorial function is
               traditionally housed within the Executive Branch, federal law
               spells out a separate process for criminal contempt charges. The
               charging judge must first ‘request that the contempt be prosecuted
               by an attorney for the government,’ but ‘[i]f the government
               declines the request’ then ‘the court must appoint another attorney
               to prosecute the contempt.’ Fed. R. Crim. P. 42(a)(2) (emphasis
               added). The Supreme Court has stressed the importance of that
               provision, noting that ‘[t]he ability to appoint a private attorney to
               prosecute a contempt action satisfies the need for an independent
               means of self-protection, without which courts would be mere
               boards of arbitration whose judgments and decrees would be only
               advisory.” Young, 481 U.S. at 796 (quotation marks omitted)
               (emphasis added).

Dkt. 297 at 14 (emphasis in original).

II.    Argument

       A.      Applicable Law

                 Courts possess the inherent authority to initiate contempt proceedings, and to
appoint a private attorney to prosecute contempt charges. Young v. United States ex rel. Vuitton
Et Fils S. A., 481 U.S. 787, 793 (1987) (“[I]t is long settled that courts possess inherent authority
to initiate contempt proceedings for disobedience to their orders, authority which necessarily
encompasses the ability to appoint a private attorney to prosecute the contempt.”) (emphasis
added); id. at 795 (“the initiation of contempt proceedings to punish disobedience to court orders
is a part of the judicial function.”); id. at 796 (“If a party can make himself a judge of the validity
of orders which have been issued, and by his own act of disobedience set them aside, then are the
courts impotent, and what the Constitution now fittingly calls ‘the judicial power of the United


defense’s repeated claims, the special prosecutors do not work for Chevron and our motives in
this case are not “to pursue a private oil company’s private agenda.” Dkt. 330 at 4. This
prosecution, initiated by the district court pursuant to Rule 42, is about Mr. Donziger’s repeated
and deliberate disobedience of court orders over years, as reflected in the Order to Show Cause,
our many prior filings, our opening statement at trial (Trial Tr. at 42-56) and in our Proposed
Findings of Fact (Dkt. 327).
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States’ would be a mere mockery.”) (quoting Gompers v. Bucks Stove & Range Co., 221 U.S.
418, 450 (1911)).

               The independent power of the judiciary to punish contempts of its authority did
not originate with Young but, as the Supreme Court has set out in numerous precedents, is well
settled. See Int’l Union v. Bagwell, 512 U.S. 821, 831 (1994) (“Courts. . .have embraced an
inherent contempt authority. . .as a power ‘necessary to the exercise of all others’”) (citations
omitted) (quoting United States v. Hudson, 11 U.S. 32, 7 Cranch 32, 34, 3 L. Ed. 259 (1812)). In
Ex Parte Robinson, for example, the Supreme Court explained:

               The power to punish for contempts is inherent in all courts; its
               existence is essential to the preservation of order in judicial
               proceedings, and to the enforcement of the judgments, orders, and
               writs of the courts, and consequently to the due administration of
               justice. The moment the courts of the United States were called
               into existence and invested with jurisdiction over any subject, they
               became possessed of this power.

86 U.S. (19 Wall.) 505, 510 (1873) (emphasis added). 2 As the Supreme Court stated in Young,
this power of necessity encompasses the authority to appoint an attorney to prosecute a contempt
action where necessary to do so. 481 U.S. at 796 (“The ability to appoint a private attorney to
prosecute a contempt action satisfies the need for an independent means of self-protection,
without which courts would be ‘mere boards of arbitration whose judgments and decrees would
be only advisory.’”).

                The prosecution of contempt charges arising from the actions or conduct of
parties within the court’s jurisdiction vindicates the authority of the judiciary to regulate persons
who appear before them in judicial proceedings. See id. at 800 (“In punishing contempt, the

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  Much more recently, the Ninth Circuit used its inherent authority to appoint a private attorney
to defend the position of the United States on appeal following conviction, after the Executive
Branch refused to defend a prosecution for criminal contempt of court in that case. See United
States v. Arpaio, 906 F.3d 800, 802 (9th Cir. 2018) (Fletcher, J., concurring in the denial of
rehearing en banc) (“Rule 42 is rooted in an inherent judicial power that exists independently of
the Rule. Ordinary criminal prosecutions are, of course, exercises of the executive power.
Prosecutions for criminal contempt of court are different. Such prosecutions are vindications of
the judicial power, and the use of private attorneys as special prosecutors is part of the judicial
function.”). The power to appoint an attorney where the Executive Branch declines to act is in
order to protect the judicial power under Article III of the Constitution. See id. at 803 (“Rule
42(a)(2). . . .is an implementation of a court’s pre-existing inherent authority to appoint a special
prosecutor when the government declines to prosecute.”); cf. United States v. Gracia, 755 F.2d
984, 988 (2d Cir. 1985) (“[C]ourts have a ‘constitutional obligation’ to protect themselves from
conduct that impairs their ability to carry out Article III functions.”) (quoting In re Martin-
Trigona, 737 F.2d 1254, 1261 (2d Cir. 1984)).
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Judiciary is sanctioning conduct that violates specific duties imposed by the court itself, arising
directly from the parties’ participation in judicial proceedings.”); id. at 800-01 (“While contempt
proceedings are sufficiently criminal in nature to warrant the imposition of many procedural
protections, their fundamental purpose is to preserve respect for the judicial system itself. As a
result, courts have long had, and must continue to have, the authority to appoint private attorneys
to initiate such proceedings when the need arises.”). This exercise of judicial authority is
restrained by the principle that only “the least possible power adequate to the end proposed”
should be used in contempt cases. See id. at 801. This principle is implemented by the
procedure specified by Young and implemented in Rule 42(a)(2), that “a court ordinarily should
first request the appropriate prosecuting authority to prosecute contempt actions, and should
appoint a private prosecutor only if that request is denied. Such a procedure ensures that the
court will exercise its inherent power of self-protection only as a last resort.” Id. at 801.

       B.      Discussion

                The initiation of criminal contempt charges, and the appointment of the special
prosecutors by the District Court in this matter, reflect a vindication and use of the judicial power
of the United States. It therefore follows that the decision in Arthrex, which dealt with the
question of whether the authority of Administrative Patent Judges to issue decisions on behalf of
the Executive Branch is consistent with the Appointments Clause of the Constitution,3 has no
applicability to this matter. See, e.g., Arthrex, Slip. Op. at 8 (“Congress provided that APJs
would be appointed as inferior officers, by the Secretary of Commerce as head of a department.
The question presented is whether the nature of their responsibilities is consistent with their
method of appointment.”).

                Here, by contrast, Judge Kaplan initiated the contempt charges and followed the
procedure contemplated by Young and codified by Rule 42. Dkt. 1; Civ. Dkt. 2277. When the
prosecution of Donziger was referred to the Executive Branch, the U.S. Attorneys’ Office
“respectfully decline[d] on the ground that the matter would require resources that we do not readily
have available,” Civ. Dkt. 2277. Accordingly, the district court followed the procedure required by
Rule 42(a)(2) and appointed the special prosecutors. Civ. Dkt. 2277; Fed. R. Crim. P. 42(a)(2) (“[i]f
the government declines the request. . . the court must appoint another attorney to prosecute the
contempt.”) (emphasis added). Nothing in Arthrex affects or limits the judiciary’s inherent
power to appoint a special prosecutor in connection with its initiation of criminal contempt
charges, under circumstances where – as here – the U.S. Attorney’s Office declined prosecution
“on the ground that the matter would require resources that we do not readily have available.”
Civ. Dkt. 2277. Arthrex has nothing to do with the exercise of the judiciary’s inherent power as
long recognized by Supreme Court precedent.

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 The Appointments Clause provides: “[The President] shall nominate, and by and with the
Advice and Consent of the Senate, shall appoint Ambassadors, other public Ministers and
Consuls, Judges of the supreme Court, and all other Officers of the United States, whose
Appointments are not herein otherwise provided for, and which shall be established by Law: but
Congress may by Law vest the Appointment of such inferior Officers, as they think proper, in the
President alone, in the Courts of Law, or in the Heads of Departments.” Art. II, § 2, cl. 2.
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               As for the defense’s renewed request for discovery, the application should be
denied for the reasons this Court has already articulated in denying prior similar requests. See
Dkt. 68 at 24-25; Dkt. 150 at 1-2; Dkt. 296 at 1; Dkt. 297 at 22-24.



                                             Sincerely,


                                              s/Rita M. Glavin
                                              Rita M. Glavin

                                             Special Prosecutor on behalf
                                             of the United States
